       Case 1:07-cr-00135-DHB-BKE Document 17 Filed 11/26/07 Page 1 of 1


                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA                                    FILED
                                  AUGUSTA DIVISION                                    U.S. DIST I COUR T

                                                                                      ZR1 NOV2bP 2 42
 UNITED STATES OF AMERICA

 V.                                             ) INDICTMENT NO . CR 107- 13cLERE .

 ANTONIO PEREZ JOHNSON ,


                      Defendant.


                     ORDER OF DISMISSAL WITHOUT PREJUDIC E

               Pursuant to Rule 48(a) of Federal Rules of Criminal Procedure, and by leave of Court

endorsed hereon, in the interest of justice, and pursuant to the Defendant pleading guilty in state

court to similar charges, the United States Attorney for the Southern District of Georgia, hereby

dismisses without prejudice Indictment number CR 107-135 as to this defendant .




                                                                   ?
                                                Edmund A . Booth, Jr.
                                                United States Attorney
                                                Georgia Bar No . 068000



                                                Carlton R . Bourne, Jr .
                                                Assistant United States Attorn
                                                S .C . Bar. No . 007868
                                                Post Office Box 2017
                                                Augusta, Georgia 30903
                                                (706) 724-051 7


              Leave of Court is granted for the filing of the foregoing dismissal .


              This day of




                                                UNITED ATES DISTRICT JUD.
                                                SOUTHMN DISTRICT OF GEORGI A
